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|N THE UN|TED STATES DlSTRlCT COURT
FOR THE STATE OF MARYLAND
PepiSchafler
Plainti)jr
V
Scott D. Field Esq.
11921 Rockvi|le Pike

Rockvi|le MD, 20852 COMPLA|NT

Kenneth Oestreicher Esq. lug Tria| reguested

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saltimore MD, 21202 " ' - v v v /

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Dennis D. Davis Esq.
44 Montgomery Street
San Francisco CA, 94104

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Lafayette, CA 94596

Go|dberg, Stinnet et al

44 Montgomery Street

San Franclsco, CA 94104
Defendants

Complaint for conspiracy, mail, wire and securities fraud ,money laundering, human
trafficking for profit, embezzlement , extortion ,looting under false pretenses of bankruptcy ,
perjury, lying to the trlbunals, intimidation, terrorism, infliction of emotional distress

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JURISD|CTION

This Court has jurisdiction of this matter pursuant to Article ill Section 2, of the
United States Constitution . The Constitution further authorized Congress to create as many
additional courts as needed to meet theirjurisdictional judicial duties. The 95"' Congress
created a group of Article l courts , bankruptcy courts which are inferior courts to the Article Ill
courts, intending for them to aid in theirjurisdiction These Article l courts created by the
legislature are subordinate courts to Article lll courts , which were created in and by the
Constitution There are those that sec responsibility by the Article llI courts for the actions and
conduct of the Article l courts. The Article lll courts have supervisory jurisdiction of the
Article I courts , some of which have run amok. Title 28 Sec. 1334 also provides this court
withjurisdiction in this matter.

This matter is not about bankruptcy in the common definition of debtors and creditors, but
rather it is about corrupt depraved predators. only. The Articlel courts in the present matter
have failed to respect and adhere to the constitutional requirement of standing, therefore the
orders from those courts must be vacated by this Court which has the authority to do so.

The matter at instant is 100% on point with the Hazel-Atlas doctrine , put forth by the
United States Supreme Court in HazeI-Atlas (}Iass Co. v Har{ford»Empire Glass Co. 322US 238.
Holding that "decisions and judgments obtained through fraud and deceit of the court by officers
of the court may be challenged at any time , and must bc vacated. The Suprcme Court further
held that those victimized by the lying officers of the court must prevail, and the lying officers

of the court must be removed from the courts where they lied.

lNTRODUCTORY STATEMEN'I` OF FACTS
The subject matter of this complaint is a RICO conspiracy created under false pretenses

of law ,through racketeering , fraud, deceit . extortion, theft , money laundering . swindles

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unjust enrichment ,human trafficking for exploitation ,through perversions of the facts and law,
fed by bribery , through manufactured evidence . all for the singular purpose to rob the Plaintiff
thus enabling the perpetrators to stuff their pocket with the ill gotten gains from robbing the
Plaintiff. 'l'hese crimes originated in Maryland .where Plaintiff has been a citizen since 1995,.
All the Defendants -perpetrators are miscreant officers of the court whose reckless
disregard for their oath, for truth , for the rights of others, who arc so perverted by greed
that they lie , swindle, forge, deceive, manufacture evidence at will-all like ordinary street
gangsters thus bringing shame and harm to the profession of officers of the court and those
that ttrust them.

The present action was a fraudulent, big lie created by Defendants Field and Oestreicher
who are both officers of the court, who both were and are part of this RICO conspiracy They
were hired by a scomed formed husband whose only purpose was to cause harm to Plaintiff.,
and who promised the Defendants money, cocaine and prostitutes ,sending clients to Field`s
employer, an accounting firm. His only sought for benefit was revenge.

When Plaintiff had to go to Califomia due to a family tragedy on an extended visit-stay
Defendants Scott Field and Kenneth Oestreicher, who had been thwarted in their expectation
to extort funds from Plaintif’f in Maryland , saw an opportunity to create another massive fraud
and swindle ,to generate ill gotten gains They contacted like minded individuals -racketeering
RIC() miscreants officers of the court in Califomia named Richard Spear and Dennis Davis to
humanly traffic the Plaintifi` to them for which trafficking they would receive $200.000 and
Davis and Spear will keep everything else they can extort and steal from the Plaintif’f. All the
racketeers created an illusory "estate" in Califomia through which Plaintiff was victimized and
terrorized in Nazi fashion.,and a Nazi confiscation The whole swindle of this illusory creation

was fraudulent unconstitutional and an exploitation of the law for racketeering, extortion, theft

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(l) THE FOR PROFIT RICO CONSP|RACV

A scomed former husband -a suspended attorney -to be further identified by the
initials : SFl-l and his buddy a reinstated attomey, were looking for a sleazy someone to
harass and harm the Plaintiff , and hired Defendant Scott D Field Esq and his counsel for
that task. The only benefit for the vindictive SFH and buddy was going to be : to enjoy
the revenge. Some years before Defendant Field had been the trustee for a ch7 filed by
counsel on Plaintifi’s behalf. After 30 days in that position ,Field assured the court that
he had done a very thorough job, investigating the case, and asked to be removed. The
court obliged ,closed the case shortly thereafier.,and dismissed Defendant Field Years
later, the SFH and his gangster buddy, neither of which were debtors or creditors-the
constitutional requirement for any kind of legitimate involvement, contacted Defendant
Field, likewise without any standing having asked to be dismissed by the court, and the
court having done so and closed the case , was offered a deal which would be profitable
for him ,that he apparently did not want to refuse, : to reopen the long closed by the court
case to harass the PlaintifT`. Defendant Field promptly obliged , by contacting the Article I
court lying to the court pretending that he had standing,, also lying about who his client is,

and bamboozled the court in to reopening the long adjudicated closed and dismissed case.

(2) THE PROMISED COMPENSATION TO HARASS THE PLAIN'I`IFF
The SFH promised Defendants Field and Oestreicher :cash, cocaine and prostitutes ,
clients for the accounting firm Defendant Resnick et al which employed Field, and help them
extort more money from the Plaintiff even if exempt.Anything they can extort from Plaintiff .
will be theirs to pocket. This whole RlCO conspiracy was being created ex parte, and neither
Plaintiff or counsel knew about this scam taking shape. 'l`here were no pleadings, no facts ,no

due process , none of the requirements of thc FRCP or the constitution The SFH and the

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gangster buddy had essentially ex parte purchased themselves a surrogate hater of the Plaintiff.,

a really corrupt one with the Article l court approval ..

(3) THE REOPEN!NG FRAUD WAS PROMPT AND EXPARTE
Defendant Field and Oestreicher knowingly lied to the court, when they sought
reopening, not making allegation against Plaintiff`, but rather utilizing abstract general
statements 'I'he Article l court immediately-by return mail and ex parte reopened the case.
Why? Possibly could not say no to these liars. This was the first that Plaintil`f learned of

this reopening Due process? Not in this matter in this court.

(4) PREPARING A REPLY

Plaintif`f’ counsel of course responded promptly , primarily pointing out the fraud of
this reopening , the lack of standing, and that this was manufactured evidence to harass the
Plaintiff, fraud on the court by Defendant Field and Oestreicher’s part. The options were :
to have a full evidentiary hearing and prove the criminality of this event, and seek damages,
or seek a solution that would side step all of this fi'aud on the court in a speedy manner. An
issue in an evidentiary hearing was that it would require the presence of the SFH who was
restrained in two jurisdictions from being in Plaintiff`s immediate presence . Therefore it
would require waivers and whatever other restrictions the courts in NY State and Florida

might place on him. A hearing was scheduled anyway, to find a speedy end to this fraud..

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(5) A RECOGNlZANCE AND CONVERS|ON HEARING

Counsel filed several pleadings pointing out the lawlessness and corruption of this
action, while also making plans for a speedy exit through conversion to ch 13 as provided
by law.A legal remedy for a corrupt lawless act A hearing held on August 28, 1998 at which
time the Article l court said it would approve the conversion. Defendant P`ield objected .
The court berated him with vehemence saying that he is only interested in money , in getting
cases for his employer Defendants Reznick et al to harvest fees , and the same for his counsel
Oestreicher , whether it is called for not or not. Evidence-albeit illusory that the court knew
the character of these Defendants and their goal. Defendant Oestreicher Esq. stood up and
shouted :” l want money l want 515,000. Who is going to give me that.” "lhere was silence .
he repeated : “l want money.15.000” more silence and thereafier the court called the
hearing over. lt would take exactly two months October 28, l998from the day of the hearing
for the court to file the order ,. lt is a reasonable conclusion that Defendants Field and
Oestreicher were lobbying against the signing of the order because as Oestreicher said
they wanted money, which would not be forthcoming . Field was dismissed a second time

-a refreshing pleasant event : a liar dismissed the second time..

(6) AN UNEXPEC'I`ED FAMILY TRAGEDY lN PLAINT| FF’S LlFE.

Within days of the order being filed , a family tragedy had developed in Califomia .
Plaintil"f`s only sibling a distinguished and accomplished man, prominent through his position
with the worlds most famous think tank, had suddenly taken ill .The frequent updates were less
and less encouraging But in the interim Plaintiff had met with the ch 13 trustee , and a plan was
worked out requiring only the Article l court’s signature The sibling`s prognosis had become

very grave and Plaintiff needed to go to Califomia for awhile to be with him, and help his wife

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and child prolong his life. The SFll knew a lot of these details from farnin sources , and

shared them with Defendants Field and Oestreicher.Plaintiff` had explained to the court all

the details of` the tragedy , and her need to leave shortly, and asked the court to sign the plan.

ln response the court had very trite replies and excuses , but Plaintiff expected it to be signed
soon. lt did appear however that counsel-by then dismissed and Plaintiff underestimated the
depravity of these Defendants lnstead of conversion , full court press of law was needed toward
these corrupt men . 'I`o apply the medical model : these men represent the equivalent of an ugly
malignant and corrosive tumor that needs to be surgically excised with great attention to prevent

the tumor’s reappearance ever. Defendants Field and Oestreicher had needed thorough excision.

(7) THE COURT WAS EASILY EXPLOITED BY THESE DEFENDANTS
Defendants Field and Oestreicher extensively exploited their relationship with the Article l
Court with malicious and lawless or criminal acts that brought them unearned and undeserved
financial gain along with assurance that their malfeasance will never be challenged by the court
lt appears that in their presence the court forgot it’s oath , duty and fidelity to the constitution..
During the conversion hearing the court demonstrated awareness of the greed motivated
malfeasance by these individuals , their scams, their frauds, their lawlessness, and after having
dismissed them in the past, nevertheless maintained an open door policy for them.l`hey accessed
the court at will, and this open door policy for them enabled their perversions and crimes to
flourish.Some officers of the court who are aware of the court’s kindness toward them have
jokingly speculated whether Defendants Field and Oestreicher carry chlorof`orm in their bags,
The consequences of this open door policy to the court chambers for these wrongdoers was the
court’s failure to sign the plan as required by law. A requests and scam by Defendants Field and

Oestreicher despite the previous berating by the court had priority , and all was forgiven.

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(8) THE HUMAN TRAFFICKING OF THE PLAlNTlFF

All human trafficking is for exploitation, terror and lawlessness. with the more common
being domestic and sex workers. Plaintiff was trafficked for extortion, robbery and looting of
her retirement funds,

When Plaintiff left Maryland for awhile to deal with a tragedy in Califomia. the
miscreants Field an Oestreicher had persuaded the Article l court not to confirm it’s own order
of a ch 13 conversion, and instead falsely allege that this is a whole new ch 7 bankruptcy petition
which they will then sell to two marauders in Califomia . Plaintiff had retirement funds, which
the SFH and they will help the marauders confiscate and pocket, and they Field Esq. and
Oestreicher Esq will receive a “f`ee "‘ of $200.000 for this heist and criminal act. Of` course this
ex parte fraud and conspiracy must remain until the Califomia crooks can get situated and
started and create legitimacy for this crime. lt all unfolded exactly how they wanted it.

This Court might be shocked by the actions of the Article l court :

(9) THE CALIFORN[A MARAUDERS AND LOOTERS TO WHOM
THE PLAINTIFF WAS TRAFFICKED

The Califomia looters and marauders are also lying, perjuring, forging and racketeering
officers of the court named Dennis D Davis, and Richard J. Spear both located in the East Bay
area of Northem Califomia,Dennis Davis is a liar, perjurer , swindler. There are reported cases in
which his lies are exposed. Richard Spear is alternately referred to as a bankruptcy pimp, or the

Godfather His name appears on more that 75.000 bankruptcy cases as trustee courtesy of`ajudge

This started according to him more than 30 years ago, this despite the US Code which calls for a
trustee to serve only one year. He does no work: he is the “money man" is a multimillionaire and

parcels out cases to other officers of the court. Not unlike Field and Oestreicher they are also

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"good friends` with an Article l court. Defendant Davis has his own “fixer" an Article lll court

who takes care of him.

(10) THE WANTON EXTORTION|STS AND MARAUDERS AT'I`ACK

Plaintiff had been in Califomia just a few weeks , unaware. of all the misconduct that would
come from Maryland, that she had been traliicked for exploitation and looting Plaintiff`s sibling
was in very grave condition , and she received a telephone call from Defendant Davis who
informed her that he is counsel for Defendant Spear her trustee in bankruptcy who now owns
all her assets and to turn them over to him promptly. What? Who'? Plaintiff was incredulous
assumed it was an error or a prank , and explained to Davis that there must be an error , and
beside Plaintiff can not deal with anything at this time. Defendant Davis told Plaintiff that
“he does not want to wait" No pretense of anyone else having an interest

Plaintist sibling died a few days later and the brokenhearted Plaintiff went to grieve
with her family.She returned a few weeks later to an avalanche of pleadings and holding

Plaintiff in contempt

(ll) WTHOUT COUNSEL IN A JUNGLE
Because of who Defendants Spear and Davis are ~their notoriety had preceded them,
something Plaintiff learned alier meeting with the president of the bar association it would
be unlikely for Plaintiff to have counsel. Believing that this whole persecution was an error,
Plaintiff filed a variety of pleadings but also enrolled in law school. The Article l court
never scheduled any of Plaintiff`s requests to the court . Plaintiff assumed that this might be a

clerk at work and wrote a letter asking why Plaintiff is denied access to the court?

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(12) THE CONSEQUENCES OF BEING TRAFF!CKED FOR
LAWLESS EXPLOITAT!ON THE ILLUSORY “ESTATE”

Defendants Spear and Davis were filing a fair amount of pleadings surrounding their
Expectation of plundering and stealing Plaintiff" s retirement funds. They traveled to
Maryland and met with the SFH , with Defendants Field and Oestreicher and strengthened
the racketeering conspiracy. Plaintiff tried to be heard, filed motion -she had enrolled in law
school -,expected due process proceedings all to no avail. She did not exist other than an
object for theft and exploitation Once the full criminal conspiracy under the color of law
became clear to the Plaintiff, and that she had been traffickcd for Defendants exploitation
and their unjust enrichment-all these proceedings were the equivalent to being the wedding

planner for the tooth fairy-, it was all illusory fraud.

(13) COGNITIVE DISSONANCE: THE PRISTINE LAW SCHOOL IDEALS
WITHOUT ILLUSORY ESTATES OR C()RRUPT PLUNDERING
Like in every law school students are taught respect for the law, the constitution , the
courts, seeking the truth , yet Plaintiff was living in the midst of a Nazi enterprise.. As a
European -American and child Nazi victim, Plaintiff knows what represents Nazi belligerent
lawless extortion The gangster members of this fraud and conspiracy Defendants :Field,

Oestreicher, Spear and Davis were ready for their belligerent extortion profits

(14) THE MARAUDERS HlREl) A THUG FOR THE ILLUSORY ESTATE
'l`O STALK. HARASS, lNTIMlDATE, TERR()RIZE, TO CAUSE
HARM AND ROB THE PLAINTIFF

The corrupt miscreants hired a thug to stalk the Plaintiff, burglarize her residence and

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Steal documents, anything else he could , invaded Plaintiff`s privacy in various ways,
checked Plaintiffs driving record, was looking for “intelligence on Plaintiff"’, provided
the SFH with reports of Plaintist activities , and lied continuously. lt was really scary
to come out the door and see the ugly thug sitting there, later being followed ,seeing him

in places he did not belong.

(15) DFEFENDANT DAVIS THE ULTIMATE MISCREANT
BENEF[TTING FROM THIS THEF'I`, REQUESTED A BRIBE

At one point in this ordeal Defendant Davis Esq. asked Plaintiff for a bribe of

$l30.000 and something for Defendant Spear-amount not specified. He proceeded to say
that if Plaintiff gives him and Spear this requested bribe , Plaintiff will have some retirement
funds left for herself. Of course he affirmed that he knew that he was seeking Plaintiff s
retirement funds exempt from any judgment under the laws of` the State of Maryland. He
also managed to remind Plaintiff that Spear owns all her assets, This schizophrenic exchange
reminded Plaintiff again, that she was trafficked to be exploited and robbed Plaintiff declined
this wonderful offer .Brribing a despised racketeering criminal is not desirable , although

sometimes it is advantageous to appease a putrid beast.

(16) FRAUD, FORGERY , DECEIT, MANUFACTUR|NG DOCUMENTS
BY AND FOR THE lLLUSORY ESTATE

All the proceeding , all the filings in this illusory estate being fraudulent and the means
to the end the Defendants were waiting for: plunder and looting. Defendants were impatiently
lusting for her assets , excluding Plaintiff" s pleadings, dismissive of anything she had to say,
because the arrangements had already been finalized ex parte. "l`here was just the need to step
over the Plaintiff A hearing was scheduled to confirm that Plaintifi"s retirement funds belong

to the “illusory estate and the illusory “trustees” known as Defendants Spear and his Davis.

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The hearing outcome was predetermined : the Article I court agreed with Defendants
Spear and Davis that Plaintiff`s retirement funds belong to. the illusory ,estate named
Spear, Davis, Field and Oestreicher but did not sign an order immediately , because
there is a ten day repose to challenge the decision. Defendant Davis had come prepared
with his own manufactured and forged order , and 5 minutes afier the hearing was over

he filed that forged and manufactured order in the clerk"s ofiice.

(17) AN ARTICLE lll COURT NOTIFIED PLAINTIFF OF THE
FORGERY AND MANUFACTURED ORDER IN THlS
lLLUSORY CASE

Almost two years later an Article lll court notified this Plaintiff that Defendants Spear
and Davis had forged that order by the Article I, court and that this was something she
believed Plaintiff did not know. Plaintiff was indeed unaware of this forgery and fraud.

This was a swindle and fraud layered on a swindle and fraud. When asked to vacate this
forged manufactured order as required-no forged manufactured document is valid in a court
oflaw, the Article lll court declined ,saying the court ofappeals has to do it. The court of

appeals did not care. .

(18) FORGED ORDER lN HAND HUNTING FOR PLAlNTlFF’S
PROPERTY FOR THE ILLUSORY ESTA'I`E BET'I`ER
KNOWN AS THEIR PERSONAL BANK ACCOUNTS
Empowered by the manufactured forged order and having succeeded this far in their
corrupt enterprise of human trafficking of the Plaintiff , Defendants Spear and Davis began

harassing and hunting the Plaintiff with the ferocity of Nazi storm troopers. `lheir pursuit was

relentless. As part of the terror campaign wherever Defendants Spear and Davis had the

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opportunity they slandered Plaintiff"s character implying wrong doing on her part

(19) THE CAL[FORNlA BAR ASSOC|AT|ON EVALUATION

Plaintiff had been planning to return to Maryland for a long time, but was deeply mired
the RlCO enterprise of Defendants Field, Oestreicher ,Spear & Davis and was searching
for the way out Having finished law school Plaintiff applied to take the Califomia Bar for
which a character evaluation is required. Plaintiff had to -and wanted to -provide in great
detail the corruption encountered ,and being trafficked to have her assets stolen the RlCO
enterprise , the marauders that looted her lawfully held property and the brazen criminality
she had fallen prey to all, by gangsters that are also officers of the court. The bar examiner’s
committee paid attention to details, asked appropriate question, and presumably verified
some issues on their own. Plaintiff was told that she had done nothing wrong, and a short time

later the Califomia Bar sent Plaintiff a certificate that she is a person of good moral character.

(20) EXTORTION, CONFISCATION ,THEF'I` OF PLAINT|FF’S FUNDS

Plaintiff’ s was summoned to the Article l kangaroo court under false pretenses and
detained , and was going to be incarcerated until she handed over her retirement funds to
Defendants Spear and Davis. While this is exactly what Nazi’s did ,what one learns is to
comply and then hold them accountable , disgorging etc. At that moment there were no other
choices. She was a hostage of gangsters and ransom had to be paid Plaintiff handed over to
the Article I court for the benefit of the illusory estate named Field, Oestreicher, Spear and
Davis publicly traded securities worth approximately $480.000 and with the splits and

dividends they were valued at more than $500.000 . Plaintiff has the evidence for these crimes

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(21) UNJUST ENRICHMENT: PLAINTlFF’s LOOTED SECURlTlES
The following securities portfolio represents Plaintiff`s retirement funds, which under
great duress were confiscated from her in Nazi fashion , stolen by Defendants Spear Esq. and
Davis Esq. Defendants Field Esq. and Oestreicher Esq. received a share of these ill gotten gains

as well. This was the culmination of their human trafficking of the Plaintiff.

Amazon 200 shares; AOL 2.320 shares; AT&T 250 shares.

Biogen 200 shares; Cardinal Health 562 shares ;Chevron 100 shares
Citigroup 600 shares ; Coca Cola 400 shares , De|l 125 shares
Disney 1300 shares , Eli Li|y 100 shares Genera| E|ectric 400 shares
intel 170 Shares; Lucent Tech 256 shares , MacDonald 600 shares
Merck 400 shares , Microsoft 720 shares.

All these securities wound up domiciled in Defendant Spear and Davis`s pockets and bank
accounts. While Defendants Field and Oestreicher received their human trafficking fee-though
the amount -whether they received the full $200.000 Plaintiff does not know.

Plaintiff believes that this securities heist by Defendants Spear Esq. and Davis Esq. is
a massive RICO security fraud under false pretenses There was an illusory bankruptcy which
in reality was a fraud. They signed all the certificates knowing that this was all a f`raud., and
that they were stealing it for their own purposes in their own bank accounts

There was no bankruptcy, there was no standing, and there was no jurisdiction for the
Article l court Plaintiff was a visitor , but just like they do in places like Somalia : you show

up.- you get robbed. That is why we have RICO statutes.

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(22) A MICROCOSM OF THE RICO RACKETEERING GANG
FALSI IN UNO FALS[ IN OMNIBUS

The following event is a microcosm of the RICO conspiracy by all
greedy corrupt miscreants officers of the court looking to steal anything of value, and the
scomed former husband who hired all these corrupt liars and miscreants to harm or deprive
this Plaintiff ’He lives for the vengeance and they live for the thefi , fraud and forgery
In Buffalo NY State Supreme Court, in September 1992 there was a 12 day trial

in which Plaintiff was likewise a Plaintifi`, seeking a marital dissolution . While NY State
divorce laws are rather restrictive, it was also the person Plaintiff was divorcing, a task that took
9 years. The SFH once a partner in a prestigious law firm, had deteriorated and become a
criminal., and criminals are not easy to divorce ~requires persistence and a lot of legal fees.

All the marital assets that could be located were divided 50/50. One of the assets
located was an l% interest in a 25 year government bond for Section 8 housing purchased in
1978 that was likely to mature in 2004 if the project survives- but not certain. ln the interim it
provided a tax deduction of $ 400 annually. The court ordered this deduction to be shared
$200 each party, and Plaintiff was receiving the form annually.

Preparing the 2005 tax return , and not having received the deduction forms, Plaintiff
learned that the Section 8 bond had matured and the l% had generated $15.500 two checks
in amount of $7.750 issued by a government agency the Department of Housing and were
both mailed to the SFH(scomed former husband) -one with Plaintiff as the payee. The SFH
sent it to Defendants Spear and Davis which they cashed and said it belongs to the illusory
estate Defendants Spear and Davis forged Plaintifi`s identity and signature in a government
document This extortion was 10 years after any legitimate connection to an estate , and was

not by the debtor or a creditor , but by racketeering predators.

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(23) APPLICABLE LAWS : AND STARE DECIS!S.
The present matter in it’s unparalleled lawlessness and RlCO corrupt action

100 % on point with HazeI-Atlas‘ Glass Co.v Hartford _Empr`re Glars Co. 322 U.S. 238,
Plaintiff will go in to details on that case, but there are other determinative holdings that
are fully applicable as well, though few cover an” illusory bankruptcy estate to plunder”

(a) Fourth amendment US Constitution “ the right of the people to be secure in
their houses with their papers” The marauders hired a thug to burglarize Plaintiff s
residence and stole her documents among other, to help them steal the rest

(b) Fifih Amendmen! U.S. Constitution nor shall anyone be deprived of property
without due process nor shall private property be taken without just compensation" There
was no due process proceeding, and Plaintiff hopes that just compensation will be
forthcoming soon

© Martin v Humer 's Lessee 14 US 304 The Constitution of the United States is for
the common and equal benefit of the people of the United States .

(d) Standing Article lll Sec 2 the Court shall have jurisdiction on all cases of injury
or controversy , the Plaintiff must have injury in fact and a favorable outcome would be to
his singular advantage. Ward v Seldin, 422 US, 490. The Defendants are just exploitative
plunderers and thieves -which does not provide standing. They had no standing just greed

(e) !n Re Crykuslcr` 32() B.R.385 (2005) the court held that every action including a
a bankruptcy proceeding must be prosecuted by the real party in interest the party with standing.
While this whole matter is a fraud and an illusory bankruptcy , both afier reopening in Maryland
and the trafficking to Califomia . there was no one with standingjust unmitigated gall and greed.

(f) In US v Lynne Stewart el al, the court held that lying to the court or submitting
falsified documents to the court means stealing court time from the people. Ms Stewart Esq,

is serving a 4 year prison sentence for lying to the court.

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(g) ln United States v Kruss 409 US 434 the court held that bankruptcy has no rights
Debtors and creditors have the rights , and other multiple means to solve their disputes.'l`he
criminal acts perpetrated in this matter were not about bankruptcy, but rather about criminal
conduct , not unlike a repair person comes to the home, see something he likes and wants ,and
comes back under false pretenses to steal it.

(h) ln Taylor. Freed & Kronz 503 US 638, the court held that after 30 days a trustee
may not challenge the validity of an exemption , even if there was no basis for claiming .1`lre
present miscreants :Defendant Fields 30 days were up in May 1996 All his other gyrations
were fraud and theft Defendants Spear and Davis in their false pretense racketeering endeavor
without standing sought to create their own right to challenge any exemption seven years
after it was claimed., simply because Plaintiff was humanly trafficked to their neighborhood

(i) In Roussey v Jacoway 544 U.S.320 the Supreme Court reaffirmed it’s position that
retirement funds are exempt from judgments including bankruptcy, 'I`hat also include thefi,
extortion , looting , human trafficking and more by the greedy Defendants

(j) ln Boggs v Bogs, 520 US 833 the court held that retirement funds are and shall remain
inviolate from bankruptcy and certain otherjudgments holding that :Congress could not have
intended that pension and retirement benefits would be given to accountants and attomeys.

(k) RICO US v Turkette 452 U.S. 576 . is an enterprise for a racketeering activity , can
be a group of people or just a few people associated for the purpose of racketeering activity..
The Defendants in the present matter are just a “few people” but they engaged in a RlCO
racketeering conspiracy

(I) 28 U.S.C. #586 (d) to be a member of the panel of private trustees an applicant must:
poses integrity and be of good moral character, and the appointments are for a period not to
exceed one year. Defendants overstayed their one year term, and were not of good moral

character.

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(m) United States v Throckmorlr)n 98 U.S. 61 the court held “There is no question of
the general doctrine that fraud vitiates the most solemn contracts , documents and judgments.
Everything these Defendants have done or written must be vitiated..

The above named laws and authorities are just a sliver of the rules and laws that have

been violated in this corrupt RICO undertaking by all the Defendants.

(24) HAZEL-A TLAS GLASS CO, v HARTFORD-EMPIRE GLASS C0.322 US 238
STARE DECISIS

The above entitled case an astonishing fraud on the court by officers of the court
is 100% on point with the matter at instant and needs to be presented in more detail.

Hazel and Hartford were both glass producing companies . Hazel was working on a
new process of glass blowing which they would patent and presumably that would bring them
dominance in the field and patent use and infringement fees. However they were working on
perfecting their process, and were not there yet for patenting As with all science there is trial
and error before there is trial success.

Hartford was aware of Hazel’s work in preparation for the patent, and the nature of the
failures on their path. The longer view was that once Hazel can file for the patent it will be
granted and they will have to pay Hazel fees.

The attomeys-offieers of the court for Hartford came up with an astonishing scam. They
located a “straw man’ in he Pennsylvania hills who would be their pro forma scientist whom no
one would be able o locate and he would be the scientist for Hartford. for the payment of
$l0.000, The attorneys themselves through falsifying names wrote all the material, the scientific

articles in which the “scientist” claimed that they have the new glass making process ready to go

without any further testing, and created several false scientific monthly joumals, printed all

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sorts of invented professional praise for their created "scientist “-straw man, and the awards
he had received to provide him with status , and obtained a patent for their “new process.”
Hazel who had this process before-just not patented yet , continued using it in glass making.
l-lartford filed a patent infringement suit and was awarded $1 .000.000 plus legal fees. This
action was going through the courts and the appellate process and reached the Supreme Court
which upheld the award . Hartford was also challenging other glass manufacturers alleging that
they were using their process without compensation and they prevailed in several courts and
received numerous large infringement monetary .awards Presumably the attorneys for
Hartford who had created this massive fraud were now filled with power .and at ease with the
swindle and fraud.
0ver time Hazel’s attorneys developed doubts about Hartford’s claims , and engaged
two investigators and other professionals to look into this ‘scientist” and all of Hartford’s
activities ,and the straw man was located. He knew nothing about what he was supposed to
have done, other than remain silent, but complained that he did not receive the full $10.000
promised.. l~le had received only $7.500.
Hazel-Atlas equipped with the facts had already initiated other complaints against
Hartford .but also asked the Supreme Court to vacate the courts prior order aff`u'ming this
astonishing fraud and the $1.000.000 award. lustice Black spoke for an unanimous court
“ Every element of the fraud here disclosed demands the exercise of the historic power of
equity to set aside fraudulently begotten judgments.”
Justice Roberts:” No fraud is more odious than an attempt to subvert the administration
of justice.lt is complained that members of the bar have knowingly participated in the fraud. .
Remedies are available to purge recreant officer of the court from the tribunals on whom the
fraud was practiced”.

The Supreme Court ordered the Court of Appeals to vacate the orders favoring Hartford,

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the fraudulent judgments be vitiated and vacated directed that Hartford-Empire may not
participate in the above described process .

This is an astonishing extensive case of attorney fraud ,manufactured evidence , brazen
sharneless extortion and fraud on the court and more ,that lasted almost 20 years moving in
various courts until it urrraveled .

While the fact patterns might differ, the core of the case is 100% on point with the matter
at instant: grotesque liars ,perjurers and forgers manufactured evidence and unbridled greed.
While the malfeasants are all officers of the court, their conduct is akin to street thugs that

steal any way they can..

(25) THE MARYLAND EXEMPT|ON CLAIMED lN MARCH 1996.
Maryland exemptions are constitutionally mandated by Article lll, Sec 44 of the

Maryland Constitution. In Re Solomon 166 Bankr832, affd.17Bankr325 (1994).Exemptions
Should be literally construed Solomon supra. The purpose of mandating these exemptions is
to prevent a retired person becoming dependent financially on the state. ln fact it is clear from
the legislative history of the 1978 Act that converting non exempt property into exempt property
is part of the exemption law. H.R.Rep. No 595, 95”' `ongr. 1" Sess. 361 (1977).

The exempting per MD. C ourts and Judicial Proceeding 11-504(1))(11) lnrerest in
retirement funds can not be waived by written waiver or cognovit note. lf a waiver is filed the
court may invalidate it.

On March 26, 1996 counsel filed out the forms appropriately , claimed the exemptions
according to the laws of Maryland. lt is only many years later that Plaintiff was robbed by these

crooks with law degrees.

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(26) RICO: OBSTRUCT|ON OF JUSTlCE, EXTORTION.
INTERFERENCE WlTH PROPERTY RIGHTS,
MAIL AND WIRE FRAUD

18 U.S.C.A # 1961 (l) (B) defines a RICO predicate the obstruction of justice that
interferes with commerce , while 18 U.S.C.A.#l962 © defines as RlCO that income from
racketeer activity through pattern of racketeering to collect an unlawful debt. U.S. v Turkerte
.452 U.S. 5 76 An enterprise for this racketeering activity requires just a few people associated
for that purpose. ln Rotella v Wood , 528 U.S. 549 , the court held that any person injured by
or lost property through RICO may seek treble damages

The matter at instant has all the elements of a RICO enterprise: racketeering , a theft
and extortion scheme., Defendants have obstructed justice repeatedly , Defendants Field
Oestreicher, Spear and Davis engaged in extortion, All the Defendants interfered with
Plaintiff"s rightful property rights , and they used the mail and “wires” for their fraud.

To meet the RICO paradigm it is usually agreed that more than one-at least two predicate
Acts must be engaged in. Defendant Field who initiated this RlCO conspiracy falsely
alleged to be ‘the trustee’ to give himself credibility when he sought reopening of the more
a few year old case, and planned to use this lie for his plunder.. Plaintiff`s scomed former
husband and his buddysuspended attorneys were the poster persons for the NY State

Organized Crime Strike Force.

(27)

Plaintiff re alleges and incorporates paragraphs 1-26

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(28) RELIEF REQUESTED

PLAINTIFF demands judgment granting the following relief :

(l)

(2)

(3)

(4)

(5)

(6)

(7)

(3)

An award of compensatory damages in amount of two million dollars each from
Defendants: Field Esq. Oestreicher Esq. Spear Esq. and Davis Esq.

An award of compensatory damages in amount of one million dollars each from
Defendants: Reznick, Fedder et al. Whitef`ord Taylor et al. Goldberg, Stinnet et al

An award of punitive damages in amount of three million dollars each from
Defendants Field Esq. Oestreicher Esq. Spear Esq.

An award of punitive damages in amount of four million dollars from
Defendant Davis Esq.

An award of costs and fees for prosecuting this RlCO conspiracy for more
than a decade in amount of one million dollars , or in the alternative to be
decided at trial

That at trial the jury be provided with all the evidence that this is a RICO

case and therefore any award can be tripled .

This I-lon. Court is asked to apply the sanctions put forth by the US Supreme
Court in Haze-Atlas doctrine, stating that “any officer of the court that lied to
a court should be removed from that court’

Such other relief this court may deem appropriate

March 8, 2012 //

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